        Case 1:07-cr-00032-WMS              Document 74          Filed 01/17/08       Page 1 of 2




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

        v.                                                                              ORDER
                                                                                       07-CR-32S
TAMIKA N. FLORENCE,

                                 Defendant.



        1.      On October 4, 2007, this Court referred this matter to the Honorable H.

Kenneth Schroeder, Jr., United States Magistrate Judge, for all pretrial matters pursuant

to 28 U.S.C. § 636(b)(1).

        2.      On April 6, 2007, Defendant Tamika Florence filed a motion seeking, inter

alia, severance from her co-defendants. (Docket No. 13.) On November 1, 2007, Judge

Schroeder filed a Decision and Order denying Defendant’s request for severance.

Defendant timely appealed, and on December 18, 2007, this Court heard oral argument

and reserved decision. (Docket No. 63.)

        3.      Pursuant to 28 U.S.C. § 636(b)(1)(A), a magistrate judge may hear and

determine any pretrial matter pending before the court.1 The magistrate judge’s order on

such a pretrial matter will be reconsidered by the district judge only when it has been

established that it is clearly erroneous or contrary to law. See 28 U.S.C. § 636(b)(1)(A).

        4.      Here, Defendant Florence obviously disagrees with Judge Schroeder’s ruling,

but disagreement alone is not cause to disturb the Decision and Order. Defendant has not




        1
         Under this district’s Local Rules, review of a m agistrate judge’s order is governed by 28 U.S.C. §
636(b)(1). See Local Rule of Crim inal Procedure 58.2(a)(2).
      Case 1:07-cr-00032-WMS           Document 74   Filed 01/17/08   Page 2 of 2




established that Judge Schroeder’s Decision and Order is clearly erroneous or contrary to

law. Accordingly, this Court will deny Defendant’s appeal.



      IT HEREBY IS ORDERED, that Defendant Florence’s Amended Appeal of Judge

Schroeder’s November 1, 2007 Decision and Order (Docket No. 63) is DENIED.

      FURTHER, that Judge Schroeder’s November 1, 2007 Decision and Order (Docket

No. 56) is AFFIRMED in its entirety.

      SO ORDERED.


Dated: January 17, 2008
       Buffalo, New York
                                                       /s/William M. Skretny
                                                      WILLIAM M. SKRETNY
                                                      United States District Judge




                                             2
